in)»

Case 1:03-cr-00331-CKK Document 543 Filed 02/26/15 Page 1 of 3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,
v.

Criminal No. 03-331-11 (CK)

WALDEMAR LORENZANA-LIMA,

Defendant.

 

 

ORDER

A status hearing was held in open court on February 26, 2015, which was scheduled by
the Court after it received a report dated February 18, 2015 (copy attached under seal), submitted
by Dr. Teresa Grant from D.C. Government’s Department of Behavioral Health, stating: “I am
unable to form an opinion regarding defendant’s competency. It appears a combination of factors
is currently compromising the defendant’s ability to understand the confidentiality warning in
addition to his competency at this time. Therefore, the evaluator is recommending that the
defendant be transferred to a federal mental health facility for further evaluation, medical and
psychiatric treatment.”

In light of the information provided at the hearing and in Dr. Grant’s report, the Court
finds that there is reasonable cause to believe that the defendant may presently be suffering from
a mental disease or defect rendering him mentally incompetent to the extent that he is unable to
understand the nature and consequences of the proceedings against him or to assist properly in
his defense, in relation to his sentencing. 18 U.S.C. § 4241(a). The Court notes that the
defendant is receiving ongoing treatment at the D.C. correctional facility where he currently is

placed.
Case 1:03-cr-00331-CKK Document 543 Filed 02/26/15 Page 2 of 3

Accordingly, with the consent of the parties, it is this 26th day of February, 2015, hereby

ORDERED that Mr. Waldemar Lorenzana-Lima is committed to the custody of the
Attorney General who is ordered to FORTHWITH transport Mr. Lorenzana-Lima to the Federal
Correctional Institution at Butner, North Carolina; and it is

FURTHER ORDERED that the Federal Correctional Institution at Butner, North
Carolina is directed to examine Mr. Lorenzana-Lima to determine whether he is presently
“suffering from a mental disease or defect rendering him mentally incompetent to the extent that
he is unable to understand the nature and consequences of the proceedings against him or to
assist properly in his defense,” specifically his sentencing, pursuant to 18 U.S.C. §§ 4241(a) &
4247(b); and it is

FURTHER ORDERED that Federal Correctional Institution at Butner, North Carolina
is directed to prepare psychiatric or psychological report(s) pursuant to 18 U.S.C. §§ 4241(b) &
4247(c) and SUBMIT such report(s) to this Court by April 6, 2015; and it is

FURTHER ORDERED that a mental competency hearing as to Mr. Lorenzana-Lima’s
competency to proceed to sentencing, is scheduled in this matter for April 13, 2015, at 9:30 a.m.
in Courtroom 28A; and it is

FURTHER ORDERED that the Clerk of the Court shall place the attached Report dated
February 18, 2015, from Dr. Teresa Grant of D.C. Government’s Department of Behavioral
Health on the docket UNDER SEAL.

SO ORDERED.

“ ' — 5 ‘ as .
pute: Fztreaeg 26,2075 Cn,
COLLEEN KOLLAR-KOTELLY

UNITED STATES DISTRICT JUDGE

 
Case 1:03-cr-00331-CKK Document 543 Filed 02/26/15

Copies to:

A. Eduardo Balarezo
BALAREZO LAW
400 Fifth Street, NW
Suite 300

Washington, DC 20001

Joaquin G. Perez
6780 Coral Way
Suite 200

Miami, FL 33155

Michael Lang

UNITED STATES DEPARTMENT OF JUSTICE, Criminal Division
Narcotic and Dangerous Drug Section

2 Constitution Square, 145 N Street NE

Second Floor, East Wing

Washington, DC 20530

Amanda Liskamm

U.S. DEPARTMENT OF JUSTICE

Criminal Division, Narcotics and Dangerous Drugs
145 N Street, NE

Second Floor, East Wing

Washington, DC 20530

United States Marshal Service
U.S. District Court for the District of Columbia
Room 1400

Page 3 of 3
